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                                                                               FILED: August 28, 2023

                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT

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                                                    No. 23-1890
                                               (8:23-cv-01380-DLB)
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        TAMER MAHMOUD; ENAS BARAKAT; JEFF ROMAN; SVITLANA ROMAN; CHRIS
        PERSAK, in their individual capacities and ex rel. their minor children; MELISSA
        PERSAK, in their individual capacities and ex rel. their minor children

                        Plaintiffs - Appellants

        v.

        MONIFA B. MCKNIGHT; SHEBRA EVANS; LYNNE HARRIS; GRACE RIVERA-
        OVEN; KARLA SILVESTRE; REBECCA SMONDROWSKI; BRENDA WOLFF; JULIE
        YANG; MONTGOMERY COUNTY BOARD OF EDUCATION

                        Defendants - Appellees


        This case has been opened on appeal.

         Originating Court             United States District Court for the District of Maryland at
                                       Greenbelt
         Originating Case Number 8:23-cv-01380-DLB
         Date notice of appeal filed 08/25/2023
         in originating court:
         Appellant(s)                  TAMER MAHMOUD; ENAS BARAKAT; JEFF ROMAN;
                                       SVITLANA ROMAN; CHRIS PERSAK, MELISSA
                                       PERSAK
         Appellate Case Number         23-1890
         Case Manager                  Rickie Edwards
                                       804-916-2702
